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     UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
                      ILLINOIS EASTERN DIVISON


Stanley Boim Individually and as Administrator        )
Of the Estate of David Boim Deceased and Joyce        )
Boim                                                  )
                             Plaintiff,               )          Case No.
                                                      )
                               v.                     )         Principal Case Pending in the United
                                                      )         State District Court for the Northern
American Muslims for Palestine, Americans             )         District of Illinois Case No. 17 CV
For Justice in Palestine Educational Foundation       )         03591
Rafeeq Jaber                                          )
                               Defendants.            )

______________________________________________________________________________

     MOTION TO QUASH SUBPOENA AND ENTRY OF A PROTECTIVE ORDER

       Now comes subpoena Respondent the Mosque Foundation AKA The Bridgeview

Mosque, by its Attorneys Zaid Abdallah and Bassam Abdallah of Abdallah Law, and moves this

Honorable Court pursuant to Rule 45(c)(3) of the Federal Rules of Civil Procedure, to quash the

duplicate Subpoenas served on the Mosque Foundation (hereinafter Respondent). Additionally,

pursuant to Federal Rule of Civil Procedure 26 (c), on the basis that the subpoena issued seeks

information that is not relevant to any party’s claim or defense, is unduly burdensome, and

intended solely to harass. Respondent submits there is good cause for entry of a protective order.

Respondent moves for a protective order, protecting the Mosque Foundation from further

discovery efforts and, in support thereof, states as follows:


                                        INTRODUCTION
       In 2000 Stanley and Joyce Boim filed a cause of action for the death of their son David

Boim and were awarded 156 million dollars against the Holy Land Foundation for Relief and

Development, the American Muslim Society, and Islamic Association for Palestine. This cause
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of action is for a declaratory judgment that Defendant American Muslims for Palestine and

Americans for Justice in Palestine Educational Foundation are alter egos of the Holy Land

Foundation, American Muslim Society, and Islamic Association for Palestine.

       The Plaintiffs served the Respondent Mosque Foundation with two duplicate subpoenas

to the same address, one directed to Mosque Foundation and the other to the Bridgeview

Mosque. See Exhibits A and B (a copy of both subpoenas mentioned above are attached as

exhibits A and B). This cause of action is pursuant to 28 USC 2201-2202 and Federal Rule of

Civil Procedure 65. The materials requested for both subpoenas are irrelevant to this proceeding

and said requests are a ruse for a fishing expedition. Furthermore, Plaintiff’s requests are overly

broad and unduly burdensome. Many of the requested documents do not exist. The Respondent

is entitled to a protective order since these subpoenas are designed solely to harass and cause an

undue burden on the respondent. Finally, many requested documents do not exist, as the Mosque

Foundation adopted a document retention policy in 2013. Please see Exhibit C (a copy of the

retention policy is attached as exhibit C).

                                    LAW AND ARGUMENT

       Under Federal Rule of Civil Procedure 45(a), a party may issue a subpoena to command

the production of documents or other tangible material in a person’s possession or control. Fed.

R. Civ. P. 45(a). A district court must quash or modify a subpoena that “ (1) fails to allow

reasonable time for compliance, (2) requires a nonparty to travel more than 100 miles, (3)

requires disclosure of privileged or otherwise protected matter, if no exception or waiver applies,

or (4) subjects a person to undue burden. TCYK, LLC v. Doe, No. 13 C, 2013 U.S. Dist. Lexis

145722 at *5. In deciding if a subpoena is overburdensome, the court asks whether the burden of




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compliance with the subpoena would outweigh the production of the material sought by it. The

Bicycle Peddler LLC v. Does 1-99, No. 13 C 2375, 2013 U.S. Dist. Lexis 95184.

       All requests in subpoenas must be restricted to relevant information to the cause of

action. If the subpoena request irrelevant information, this Court must quash this subpoena.

       "[t]he initial inquiry in the enforcement of any discovery request is one of

       relevance." Autotech Techs. Ltd. Partnership v. Automationdirect.com, Inc., 235 F.R.D.

       435, 440 (N.D. Ill. 2006); Third Degree Films, Inc. v. Does 1-2010, No. 4:11 MC 2, 2011

       U.S. Dist. LEXIS 116205, 2011 WL 4759283, at *1 (N.D. Ind. Oct. 6, 2011) ("However,

       implicit in the rule is the requirement that a subpoena seeks relevant information."). The

       Court has an independent duty to quash a subpoena as overbroad if it does not limit the

       documents requested to those relevant to the underlying action.” City of Rockford v.

       Mallinckrodt ARD, Inc., No. 17 CV 50107, 2020 U.S. Dist. LEXIS 259038, at *8 (N.D.

       Ill. May 27, 2020)

   Under Rule 26 (c), this court may enter an order designed to protect the Respondent during

the discovery process since the information requested here is not relevant and tantamount to a

fishing expedition is also intended to harass the Respondent. Attached is a certification by

counsel for the Respondent that they attempted to confer with the issuing party but was not able

to resolve our disputes without court action.

   A. The following requests are overburdensome and irrelevant to this cause of action.

       1. Request 1 of Plaintiff’s subpoena: “All documents listing or recoding the director and

           officers of the Mosque Foundation from 2000 to date.”


           The request is overburdensome as it requests over twenty years of documents.




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The only documents in possession of the Mosque Foundation that can comply with this request

are the board of directors meeting minutes. See Attached Exhibit C. It is overburdensome to

require the Mosque Foundation and nonparty to hand over a twenty-two years worth of board

meeting minutes. Additionally, this is not relevant to this case. The Plaintiff is attempting to

establish the Defendants American Muslims for Palestine ( AMP), and American for Justice in

Palestine Educational Foundation (AJP) are the alter egos of the Boim Defendants being the

Holy Land Foundation, American Muslim Society, and Islamic Association for Palestine.

Whoever acted as a director or officer for the Respondent over the last 22 years does not

establish one way or the other if the Defendants AMP and AJP are the alter egos of the Boim

Defendants. This is a fishing expedition to gain information not relevant to this case to harass the

Respondent. This pattern of harassment is evident by the fact that Plaintiff issued duplicate

subpoenas on the same entity. Plaintiff is engaging in a fishing expedition. The Plaintiff does not

know what information they anticipate finding with this request.

       The production of said documents will not lead to any relevant, discoverable information

this subpoena is for the sole purpose of harassing and overburdening the Respondent. This

information will not establish nor refute that the Defendants are alter egos of the Boim

Defendants.



       2. Request 2 of Plaintiff’s subpoena: “All organizational charts or other documents

           reflect the position with the Mosque Foundation, the Bridgeview Mosque, or the

           Mosque Community Center and the persons occupying those positions.”


       This blanket request is ambiguous, will not lead to any relevant information, and is

intended to harass the Respondent. It is clear from this request that Plaintiff is throwing

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everything at the wall to see what sticks. For this request, the Respondent would have to produce

every single document about employment and/or volunteer positions for the last twenty-two

years. The Plaintiff must reduce its request to be less burdensome and only apply to relevant

information in this case. This information will not establish nor refute that the Defendants are

alter egos of the Boim Defendants.

       3. Request 4 of Plaintiff’s subpoena: “ All documents regarding the services performed

           by Abedlbasset Hamayel.”

       Abdelbaset Hamayel was dismissed as a Defendant in this cause of action. This request is

overly broad and will not lead to any relevant discoverable information in that any records for

employment of Mr. Hamayel in possession of the Respondent is well after entry of the Boim

Judgement was issued.

       4. Request 5 of Plaintiff’s subpoena addressed to the Bridgeview Mosque:” All

documents regarding services performed by Mohammed Chehade.”


       As stated above, Plaintiff issued two duplicate subpoenas, one addressed to the Mosque

Foundation and one to the Bridgeview Mosque. The Bridgeview Mosque subpoena included this

request. This blanket request is ambiguous and not relevant. Any documents that would comply

with this request are irrelevant since all the documents that would be produced were generated

and kept after the judgment in favor of Plaintiff. This information will not establish nor refute

that the Defendants are alter egos of the Boim Defendants.




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        5. Request 11 of Plaintiff’s subpoena: “All documents related to any employment,

volunteer role, leadership role, consulting role, or officer or director position that Rafeeq Jaber

has held with the Bridgeview Mosque.”

        This request is overly broad and burdensome for the Respondent to track down as it does not list

parameters such as time, date, and duties. Rafeeq Jaber is a party to this cause of action, and the

requested information can be obtained from him. It would be easier for Mr. Jaber to comply with said

request than Respondent.

        6. Request 14 of Plaintiff’s subpoena: “All documents concerning any donations you

have received from Middle East Financial Services.”

        This request is irrelevant because the Respondent and Middle East Financial Services are

not named Defendants, and any information received will not establish or negate that Defendants

are the alter ego of the Boim Defendants. The request is overly burdensome and vague. The

Respondent must review seven years of donation records to comply with this request. The

Respondent is a well-established entity in the Muslim community and receives many donations

from individuals and businesses in the community. This information can be obtained directly

through Middle East Financial Services since it would be less burdensome for them.

    B. The following requested documents do not exist.

    The Mosque Foundation cannot comply with the following requests as the documents do

not exist.

        Plaintiff request 3 is “All documents regarding services performed by Rafeeq Jaber or

Jaber Financial Services for the Mosque Foundation. Rafeeq Jaber or Jaber Financial Services

never performed services for the Respondent. Request 5 is “All communication discussing IAP,

AMS, AMP, or AJP.” Respondent does not have an electronic or other communications retention

policy. Request 7 “All documents concerning any charitable events, dinners, or fundraisers in

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which you had involvement that also involved Middles East Financial services.” This blanket

request is ambiguous and overburdensome. Additionally, the Respondent has no retention policy

for said documents if they ever existed.

        Request 9 “All documents concerning any payments made to Middle East Financial

Services. Respondent does not recall making any payments to Middle East Financial Services

and said records do not exist.

       Plaintiff’s request 13 is “ All documents concerning any donation you received from IAP,

AMS, AMP, or AJP.” Respondent does not recall receiving donations from the listed entities, and

said documents do not exist. Respondent cannot comply with the following two requests as said

records do not exist. Request 15 “All documents concerning any donations you made to or

solicited in favor of IAP, AMS, AMP, or AJP” and Request 16 “All documents concerning any

donations you have made directed to or transferred to Kind Hearts, the Holy Land Foundation,

Benevolence International Foundation, Vivia Palestina, and Global Relief Foundation.

   C. The following request are duplicative.

   The following request is duplicative, and the Respondent cites the same objection

to the previous requests already made by Plaintiff. Request 10 is “All documents concerning

payments you made to Abedlbasset Hamayel.” This is the same request as request 4, and the

Respondent incorporates it’s previously stated objection to request 4 for request 10. Request 12

is “ All documents related to any employment, volunteer role leadership role, consulting role,

professional services role, or officer or director position that Abedlbaseet Hamayel had held

with the Bridgeview Mosque.” This is the same request as request 4, and Respondent

incorporates its previously stated objection to request 4 for request 12. Request 8 All documents

concerning any payment you made to Rafeeq Jaber or Jaber Financial Services are duplicative



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of request 3. The Mosque Foundation incorporates its objection to request 3 as the objection to

request 8.

   D. The Mosque Foundation is requesting this Honorable Court enter a protective order

precluding the Plaintiff from including the Mosque Foundation in discovery for this matter.

          The Mosque Foundation moves this Honorable Court for entry of a protective order

forbidding the enforcement of the subpoena in question and subjecting the Mosque Foundation

to further discovery procedures. The information sought is not relevant, is unduly burdensome,

and is intended solely to harass. As stated in the attached certification, counsel for the Mosque

Foundation has reached out to Plaintiff’s counsel several times to resolve differences about the

subpoena to no avail.

                                         CONCLUSION

          An order quashing the duplicate subpoenas issued to the Mosque Foundation is

appropriate. An entry of a protective order is necessary since the requests are overly broad,

unduly burdensome, unlikely to lead to any relevant discoverable evidence, and are solely to

harass.

WHEREFORE, the Mosque Foundation requests this Honorable Court grant its motion to

quash the subpoena and move for a protective order.



/s/ Zaid Abdallah                                            /s/ Bassam Abdallah
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                                                           EXHIBIT A
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                                                          EXHIBIT B
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            Document Recordkeeping & Retention Policies
                                      September 6, 2012



This retention policy lists what type of documentations the Mosque Foundation will retain,
for how long, and under whose responsibility.



      Document Type                                       Retention       Retained By
                                                          Period
      Deeds, purchases of properties, special             Permanently     M. Mowla
      contracts, and bills of sale
      Articles of Incorporation and bylaws                Permanently     M. Mowla
      Application for Exemption                           Permanently     M. Mowla
      Determination Letter from the IRS Form              Permanently     M. Mowla
      1023
      Minutes of Board & Executive Committee              Permanently     Sh. J. Said
      meetings
      Policies and Corporate Resolutions                  Permanently     Sh. J. Said
      Annual Reports to Sec. of State                     Permanently     Sh. J. Said
      Accounts payable ledgers and schedules              7 Years         M. Mowla
      Accounts receivable ledgers and schedules           7 Years         M. Mowla
      Internal & external financial audit reports         Permanently     M. Mowla
      Bank Statements                                     7 years         M. Mowla
      Receipts                                            7 years         M. Mowla
      Canceled Checks                                     7 years         M. Mowla
      Contracts and leases                                7 years         M. Mowla
      Employment Taxes and payroll records                7 years         M. Mowla
      Personnel files                                     Permanently     Sh. J. Said
      Retirement and pension records                      Permanently     M. Mowla
      Insurance policies, records and accident            Permanently     M. Mowla
      claims
      Legal Correspondence                                Permanently     Sh. J. Said

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                                                                  EXHIBIT C
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    Marriage & Divorce contracts                     Permanently       T. Abu-
                                                                       Ammer
    Donation records                                 7 Years           M. Mowla
    End-of-Year Financial statements                 Permanently       M. Mowla
    General Assembly Minutes                         Permanently       Sh. J. Said
    Bank Statements                                  7 Years           M. Mowla
    Zakat Applications & Payments (electronics       4 Years           T. Abu-
    for details & printed summary reports)                             Ammer
    Weekend school records                           7 Years           School
                                                                       Administrator
    Actual invoices and Petty Cash vouchers          4 Years           M. Mowla




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                                Attempts To Resolve Differences

          Zaid Abdallah and Bassam Abdallah, counselors for the Mosque Foundation, attempted

to resolve differences in good faith with counsel for the Plaintiffs, Seth Corthell, regarding this

subpoena. Zaid Abdallah had two phone conferences with Seth Corthell. In addition, Zaid

Abdallah sent eight e-mails on the following dates: October 20, October 25, October 26, October

27, and October 31. Also, Zaid Abdallah sent a letter via e-mail to Mr. Corthell, including

answering every numbered request of the aforementioned subpoena. (See attached

correspondence) Furthermore, Zaid Abdallah sent the retention policy for the Mosque

Foundation on October 26, 2022, via e-mail. (See attached Retention Policy) The parties could

not reach an agreement without the help of the Court.

          Wherefore, the Respondent Mosque Foundation pray that this Court quash or modify the

Subpoena served on the Mosque Foundation and further pray for a protective order to protect the

Mosque Foundation from the discovery that is unduly burdensome and not relevant in this

matter.

                                                       Respectfully submitted,



                                              By:     /s/ Zaid Abdallah
                                                       One of the Attorneys for Respondent


                                              By:     /s/ Bassam Abdallah
                                                       One of the Attorneys for Respondent

Zaid Abdallah (ARDC No.6298186 )
Bassam Abdallah (ARDC No. 6295675)
Abdallah Law, LLC.
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Tinley Park, IL 60467
312-229-0008
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Date:    10/24/22
To:      Seth Corthell
Via Email: scorthell@jaszczuk.com
RE: Stanley Boim v. American Muslims for Palestine et al. 17 CV 03591, Mosque Foundation
Subpoena.


         Mr. Corthell, it was a pleasure speaking to you over the phone. This correspondence outlines our

objection to the subpoenas served on the Mosque Foundation. Our first objection is that you served two

duplicate subpoenas on our client. One addressed to Mosque Foundation and one to the Bridgeview

Mosque. They are identical except that the Bridgeview Mosque subpoena lists and additional requests for

records about an employee of the Mosque Foundation Mohammed Chehade. Our first request is that you

withdraw one of the said subpoenas.

Below is our objection and or concerns to the itemized request.

      1. All documents listing or recording the directors and officers of Mosque Foundation from 2000 to

         date.

      The request is overburdensome since you are asking for over twenty years worth of documents.

Additionally, the term all document is vague and makes it extremely difficult to comply. Furthermore, we

believe that documents post-dating the original cause of action in 2004 are irrelevant and akin to a fishing

expedition. Please inform us precisely what you hope this information may lead to, and then we can
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discuss what we have in our possession. We feel that this request is unlikely to lead to the discovery of

relevant information and is to harass The Mosque Foundation and its employees.

    2. All organizational charts or other documents reflect positions within the Mosque Foundation, the

        Bridgeview Mosque, or the Mosque Community Center and the persons occupying those

        positions from 2000 to date.

    This blanket request of “all documents and charts” is beyond ambiguous. The Mosque Foundation’s

corporate structure, including identifying the Board of directors, Officers, and various employees, is

overly broad, not relevant to the present cause of action, nor calculated to lead to the discovery of

admissible evidence.

    3. All documents regarding service performed by Rafeeq Jabar or Jabar Financial services for the

        Mosque Foundation.

    Rafeeq Jabar or Jabar Financial has never done any work in the past, present, or in the future for the

Mosque Foundation.

    4. All documents regarding the services performed by Abedlbasset Hamayel

    This request is broad and makes it difficult to comply. The subpoena must have a time frame and ask

for specific services rendered by Mr. Hamayel for Mosque Foundation. Any documents that would

comply with this request are irrelevant since all the documents would be recorded after the entry of the

judgment in favor of your client.

    5. All communication discussing IAP, AMS, AMP, or AJP.

        This blanket request is ambiguous and overburdensome. You can obtain said information from

the Defendants in this cause of action. Additionally, the Mosque Foundation has no retention policy for

electronic communication; therefore, we could not comply even if we understood the vague request.
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    6. All documents regarding services performed by Mohammed Chehade. ( This is listed as request 5

        on the subpoena addressed to the Bridgeview Mosque).

    This request is broad and makes it difficult to comply. The subpoena must have a time frame and ask

for specific services rendered by Mr. Cheade for Mosque Foundation. Any documents that would comply

with this request are irrelevant since all the documents would be recorded after the entry of the judgment

in favor of your client.

    7. All documents concerning any charitable events, dinners, or fundraisers in which you had

Involvement that also involved Middle East Financial Services.

        This blanket request is ambiguous and overburdensome. These documents can be obtained by

sending a subpoena to Middle East Financial Services. Additionally, the Mosque Foundation has no

retention policy for said documents if they ever existed.

    8. All documents concerning any payment you made to Rafeeq Jaber or Jaber Financial Services.

    These records do not exist.

    9. All documents concerning any payment you made to Middle East Financial Services.

    These records do not exist.

    10. All documents concerning any payments you made to Abdelbasset Hamayel.

    This request is broad and makes it difficult to comply. The subpoena must have a time frame and ask

for specific services rendered by Mr. Hamayel for Mosque Foundation. Any documents that would

comply with this request are irrelevant since all the documents would be recorded after the entry of the

judgment in favor of your client.

    11. All documents related to any employment, volunteer role, leadership role, consulting

role, professional services role, or officer or director position that Rafeeq Jaber has held with the

Bridgeview Mosque at any time.

        This request is overly burdensome and is not relevant. This information can be obtained by the

named defendant Rafeeq Jaber. Additionally, this request lacks perimeters such as time and date.
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    12. All documents related to any employment, volunteer role, leadership role, consulting role,

professional services role, or officer or director position that Abedlbasset Hamayel had held with the

Bridgeview Mosque.

         This is a duplicate request as it requests the same documents as request number 4.

    13. All documents concerning any donation you received from IAP, AMS, AMP, or AJP.

    The Mosque Foundation does not recall receiving donations from said entities and said records do not

exist.

    14. All documents concerning any donations you have received from Middle East Financial Services.

    The request is overly burdensome and vague. Please provide exact dates and times. This information

can also be obtained through a subpoena to Middle East Financial Service.

    15. All documents concerning any donations you have made to or solicited in favor of IAP, AMS,

AMP, or AJP.

         Does not exist.

    16. All documents concerning any donations you have made directed or transferred to Kind Hearts,

         the Holy Land Foundation, Benevolence International Foundation, Viva Palestina, and Global

         Relief Foundation.

         Does not exist.

         The two subpoenas subject our client to an undue burden and is designed to harass our client.

Please narrow your requests and restrict your request to relevant information in your case instead of

engaging in a fishing expedition.




/s/ Zaid Abdallah                                         /s/ Bassam Abdallah
Zaid Abdallah                                             Bassam Abdallah
Abdallah Law                                              Abdallah Law
